
493 So.2d 1217 (1986)
LOR, INC.
v.
MARTIN EXPLORATION COMPANY, Chevron U.S.A. Inc., et al.
NEWPARK PIPE &amp; SUPPLY, INC.
v.
MARTIN EXPLORATION COMPANY, Chevron U.S.A. Inc., et al.
NEWPARK WASTE TREATMENT SYSTEMS, INC.
v.
MARTIN EXPLORATION COMPANY, Chevron U.S.A. Inc., et al.
NEWPARK FLUID SERVICES, INC.
v.
MARTIN EXPLORATION COMPANY, Chevron U.S.A. Inc., et al.
GUILLORY TANK TRUCK SERVICES, INC.
v.
MARTIN EXPLORATION COMPANY, Chevron U.S.A. Inc., et al.
No. 86-C-1259.
Supreme Court of Louisiana.
September 26, 1986.
Denied.
DENNIS, J., would grant the writ.
